                         United States District Court
                       Western District of North Carolina
                              Charlotte Division

            Ejaz Shareef,             )              JUDGMENT IN CASE
                                      )
            Petitioner(s),            )                3:22-cv-00078-RJC
                                      )             3:18-cr-00157-RJC-DCK
                 vs.                  )
                                      )
               USA,                   )
           Respondent(s).             )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s July 8, 2022 Order.

                                               July 8, 2022




         Case 3:22-cv-00078-RJC Document 8 Filed 07/08/22 Page 1 of 1
